                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                      GALVESTON DIVISION

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 Tito Quesada,
 individually and on behalf of all others similarly situated,               Civil Action No:
                                                                            3:22-cv-4
                                                 Plaintiff,




          -v.-
 Portfolio Recovery Associates, LLC, and
 John Does 1-25


                                              Defendants.
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                                       NOTICE OF SETTLEMENT

        Please take notice that parties have settled the above-referenced case. This settlement is

contingent upon the execution of a written settlement agreement. The case will be dismissed by

Plaintiff upon completion of specified conditions, in no more than 60 days from the date of this

notice. Please vacate all currently scheduled dates in this matter.



DATED, this 21st day of June, 2022

                                                              /s/Yaakov Saks
                                                              Yaakov Saks, Esq.
                                                              Stein Saks, PLLC
                                                              One University Plaza
                                                              Hackensack, NJ 07601
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
on June 21, 2022 with the Clerk of Court using CM/ECF. I also certify that the foregoing document
is being served this day on all counsel of record or pro se parties identified on the Service List
below either via transmission of Notices of Electronic Filing generated by CM/ECF or in some
other authorized manner for those counsel or parties who are not authorized to receive
electronically Notices of Electronic Filing.



                                               /s/ Yaakov Saks
                                               Yaakov Saks, Esq.




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